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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

      UNILOC 2017, LLC et al.                            §      CIVIL ACTION NOS. 2-18-cv-00491,
           Plaintiffs,                                   §     -492, -493, -494, -495, -496, -497, -498,
        v.                                               §        -499, -500, -501, -502, -503, -504
                                                         §
      GOOGLE LLC,                                        §              FILED UNDER SEAL
          Defendant.                                     §
                                                         §          JURY TRIAL DEMANDED




   RESPONSE OPPOSING GOOGLE LLC’S MOTION TO DISMISS1 FOR LACK OF
  STANDING AND IMPROPER VENUE UNDER RULES 12(B)(1), 12(B)(3) AND 12(B)(6)




  1
    Google filed nearly identical motions to dismiss in Case Nos. 2:18-cv-00491-504. Uniloc has filed an
  identical response (“Response”) in each case to eliminate any need for this Court or Google to compare the
  responses for differences. Except where indicated, citations to Google’s motion in this Response refer to
  the pagination of Google’s motion in Case No. 2:18-cv-00491. Section III. B of this Response contains
  responses to case-specific arguments made in Section IV. C of Google’s motions in Case Nos. 2:18-cv-
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  B made it necessary for Uniloc to exceed the page limits for a response. Uniloc has moved for leave to
  exceed the page limits for this purpose.

  Uniloc prefers a single set of briefings for the convenience of the parties and the Court. Google filed a
  notice with this Court, claiming Uniloc opposed a single set of briefing. This is incorrect. While the parties
  discussed the possibility of consolidating briefing for a §1404 convenience motion Google has not yet filed
  (and which Uniloc anticipates will be less susceptible to consolidated briefing), Uniloc was not aware of
  Google’s intent to file nearly identical briefs on standing and improper venue. On April 30, Google offered
  to consolidate the present briefs but conditioned its offer on Uniloc agreeing to waive its right to amend its
  complaints.
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                                          INTRODUCTION

         Google’s motion to dismiss Uniloc 2017 LLC’s claims1 for lack of standing rehashes the

  arguments already rejected by the Northern District of California in Uniloc USA, Inc. v. Apple,

  Inc., No. C 18-00360-WHA (N.D. Cal.) (Jan. 17, 2019). Here, Google’s motion is even weaker

  because the alleged rights of Fortress Credit Co LLC (“Fortress”) and CF Uniloc Holdings LLC

  (“CF Uniloc”), which Google claims deprive Uniloc 2017 LLC of standing, were terminated

  before Uniloc 2017 filed this case. For this reason alone, Google’s motion must be denied.

  Google’s motion should also be denied for the reason Judge Alsup denied Apple’s motion;

  namely, Fortress did not obtain a right to sublicense because any alleged defaults by Uniloc (which

  Apple and Google claim automatically triggered Fortress’s alleged right to sublicense) were cured.

  Further, even if they had not been terminated, Fortress’s and CF Uniloc’s alleged rights would not

  have deprived Uniloc 2017 of constitutional standing because Uniloc Lux (and its assign Uniloc

  2017) never transferred “all substantial rights” to Fortress or CF Uniloc.

         Google’s motion to dismiss for improper venue rehashes arguments already rejected by

  this Court in SEVEN Networks, LLC v. Google LLC, 315 F. Supp. 3d 933 (E.D. Tex. 2018) under

  an identical set of circumstances involving Google’s GGC servers. It should be denied for the

  same reasons this Court denied Google’s motion in SEVEN Networks. If this Court reverses

  SEVEN Networks and determines Google’s GGC servers and the place of those servers do not

  alone resolve Google’s motion to dismiss for improper venue, Uniloc requests leave to conduct

  venue discovery relating to Google’s other places of business in this District.

         Finally, Google cannot plausibly deny it had pre-suit knowledge concerning the

  infringement alleged in the complaints in the present cases because nearly identical complaints

  were filed weeks before.

  I.     BACKGROUND
         It is undisputed the each of the patents-in-suit was assigned to Uniloc Luxembourg S.A.

  (“Uniloc Lux”) on or before January 31, 2018. See Loveless Decl., Ex. A.


  1
   To eliminate any dispute about whether Uniloc USA, Inc. has standing, Plaintiffs have moved to remove
  Uniloc USA as a party, which will Uniloc 2017 LLC as the sole Plaintiff.
                                                   1
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          On December 30, 2014, Uniloc Lux and Fortress entered into a Revenue Sharing

  Agreement and a Patent License Agreement. Tuner Decl., Ex. A (Patent License Agreement).

          On May 3, 2018, Uniloc Lux and Fortress entered into a Payoff and Termination

  Agreement (“Termination Agreement”), terminating the Revenue Sharing Agreement and the

  Patent License Agreement that Google claims deprived Uniloc Lux of standing. Tuner Decl., Ex.

  C.

          Also, on May 3, 2018: (1) Uniloc Lux assigned the patents-in-suit to Uniloc 2017 LLC;

  and (2) Uniloc 2017 entered into a Note Purchase and Security Agreement (“Security Agreement”)

  with CF Uniloc. Loveless Decl., Ex. A; Turner Decl., Ex. B

          On November 16, 2018, CF Uniloc and Uniloc 2017 entered an Amended and Restated

  Note Purchase and Security Agreement (“Amended Security Agreement”). Turner Decl., Ex. D.

  The Amended Security Agreement eliminates the language Google claims deprived Uniloc 2017

  of standing.

          This case was filed after November 16, 2018.

  II.     UNILOC 2017 ALONE HAS STANDING.2
          As shown in the public USPTO assignment records, Uniloc 2017 alone is the undisputed

  owner of the patents-in-suit. Loveless Decl., Ex. A. The assignment “creates a presumption of

  validity . . . and places the burden to rebut such a showing” on Google. See SiRF Technology,

  Inc. v. International Trade Com'n, 601 F.3d 1319, 1327–28, 94 USPQ2d 1607 (Fed. Cir. 2010).

          In attempting to meet this burden, Google re-urges arguments made by Apple and already

  rejected by the Northern District of California. Google first argues Uniloc 2017 lacks standing

  because the prior owner, Uniloc Lux, allegedly defaulted under a Revenue Sharing Agreement

  with Fortress, thereby giving Fortress a right to sublicense under a Patent License Agreement.



  2
    Contrary to Google’s indications in its Motion that “Google is actively seeking” confidential documents
  from Uniloc (see MTD at 7), Google never requested any such documents from Uniloc 2017. Rather, on
  May 8, 2019, Uniloc 2017 inquired of Google what documents it sought – indicating that it would provide
  them.


                                                     2
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  Dkt. No. 17 (“MTD”) at 6, 8-10.3 This argument fails for the simple reason that both the Revenue

  Sharing Agreement and the Patent License Agreement were terminated by Fortress and Uniloc

  Lux on May 3, 2018, before this case was filed. See Turner Decl., Ex. C. Further, as Judge Alsup

  found in an order attached to Google’s own motion, any alleged defaults by Uniloc Lux under the

  now-terminated agreements were cured under Section 7.3 of the Revenue Sharing Agreement.

  See MTD, Ex. E at 6-7. Finally, even if Fortress had a right to sublicense (and it did not), that

  right would not deprive Uniloc 2017 – the legal owner of the patents-in-suit – of constitutional

  standing. A mere right to sublicense is not a transfer of “all substantial rights.”

          Google next argues Uniloc 2017’s May 3, 2018 Security Agreement with CF Uniloc

  deprives Uniloc 2017 of standing. But as Google knows from Judge Alsup’s order, in November

  2018, CF Uniloc and Uniloc 2017 amended the Security Agreement to address the allegedly

  offending language in the Security Agreement. See Turner Decl., Ex. D; see also MTD, Ex. E at

  8-9. Further, even prior to its amendment, the Security Instrument did not transfer all substantial

  rights to CF Uniloc.
          A.      Any alleged right to sublicense was terminated before this case was filed and
                  it cannot be disputed that Fortress has no rights in the patents-in-suit as of
                  May 3, 2018.
          Fortress’s alleged right to sublicense under the Revenue Sharing Agreement and Patent

  License Agreement cannot deprive Uniloc 2017 of standing because those agreements were

  terminated by the May 3, 2018 Termination Agreement. Turner Decl., Ex. C. The Termination

  Agreement states, in relevant part:




  3
    Except where indicated, citations to Google’s motion in this Response refer to the pagination of
  Google’s motion in Case Nos. 2:18-cv-00491.
  4
    Section 1(d)(ii) required the Collateral Agent to notify the Depositary Bank the Blocked Account Control
  Agreement was to terminate.
                                                         3
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  Id. at 2 (¶1(d)(i)) (emphasis added).

                                                                                                  See Turner

  Decl. ¶7.

          Google acknowledges the Termination Agreement but incorrectly insists “[t]ermination of

  an agreement alone does not extinguish an irrevocable license, such as Fortress’s here.” MTD at

  11. The cases Google cites do not say parties to an irrevocable license may not mutually agree to

  terminate their agreement. They do not even involve situations where parties mutually agreed to

  terminate their agreement. Rather, they involve situations where one party sought to revoke a

  license based on an alleged material breach by the other party.5 And they hold that a material

  breach does not give a party a right to revoke an irrevocable license. Id. Those cases are not

  analogous to the facts here. Rather, as they were free to do6, Uniloc and Fortress mutually agreed

  to terminate the Revenue Sharing Agreement and the Patent License Agreement. As a result, any

  rights Fortress may have had in the patents-in-suit (it had none) were affirmatively given up by

  Fortress in the May 3, 3018 Termination Agreement.
          B.      The Termination Agreement clearly indicates that it inures to the benefit of
                  Uniloc 2017 as Uniloc Lux’s assignee.
          Contrary to Google’s claim that “Uniloc Lux’s prior grant of rights to Fortress . . . vested

  before Uniloc Lux purported to assign the patents to Uniloc 2017,” the Termination Agreement:

  (a) acknowledged Uniloc Lux would be assigning its rights to Uniloc 2017; and (b) clearly

  indicates the Termination Agreement inures to Uniloc 2017’s benefit.

  5
    Nano-Proprietary, Inc. v. Canon, Inc., 537 F.3d 394, 400 (5th Cir. 2008) (we find that the PLA could not
  be terminated, notwithstanding a material breach of the agreement. Otherwise, the terms “irrevocable” and
  “perpetual” would be rendered superfluous, in contravention of established rules of contract interpretation);
  Matter of Provider Meds, L.L.C., 907 F.3d 845, 856 (5th Cir. 2018), cert. denied sub nom. RPD Holdings,
  L.L.C. v. Tech Pharmacy Services, 139 S. Ct. 1347 (2019) (“the use of ‘irrevocable’ goes one step further
  and indicates that the license may not be revoked for any reason, even a breach by the other side”).
  6
    Thales Alenia Space France v. Thermo Funding Co., LLC, 959 F. Supp. 2d 459, 465 (S.D.N.Y. 2013)
  (“Parties to a contract may mutually agree to cancel and rescind the contract. In addition, one party to an
  agreement may release another of a duty owed to the maker of the release, and thus discharge the duty upon
  the occurrence of any conditions provided for in the release. The duty that is released need not be matured.
  A release of a preexisting obligation can occur at the same time the parties enter into a new agreement, in
  which case the new promise is not inadequate consideration under the preexisting duty rule.”)
                                                       4
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         A recital to the Termination Agreement specifically acknowledged



                                                                                                 Turner

  Decl., Ex. C at 1. Further, the release provision in the Termination Agreement




                                                                   Id. at 4 (¶ 2(b)) (emphasis added).

  The Termination Agreement further states that it

                                                                            Id. at 6 (¶4(c)) (emphasis

  added).

         Thus, far from having an unfettered and irrevocable right to sublicense when Uniloc 2017

  acquired the patents-in-suit, Fortress fully released and relinquished any right to sublicense as part

  of the Termination Agreement – an agreement that expressly inures to the benefit of Uniloc 2017.
         C.      Any “Event of Default” was cured.
         Even if the Revenue Sharing Agreement and Patent License Agreement had not been
  terminated, Google’s motion would fail because any event of default giving Fortress a right to

  sublicense was cured. Prior to their termination, the Revenue Sharing Agreement and the Patent

  License Agreement allowed Fortress to use its license only “following an Event of Default.”

  Palmer Decl., ¶4; MTD, Ex. Ex. D §2.1. The Northern District of California already rejected the

  argument that alleged defaults by Uniloc Lux (the same defaults alleged by Google) gave Fortress

  a right to sublicense. There, Judge Alsup correctly found that even if there were events of default,

  “they were annulled under Section 7.3 of the Revenue Sharing Agreement.” See MTD, Ex. E at

  6. Section 7.3 of the Revenue Sharing Agreement states:
         Once an Event of Default has occurred, such Event of Default shall be deemed to
         exist and be continuing for all purposes of this Agreement until the earlier of (x)
         Majority Purchasers shall have waived such Event of Default in writing, (y) the
         Company shall have cured such Event of Default to the Majority Purchasers’
         reasonable satisfaction or the Company or such Event of Default otherwise ceases
         to exist, or (z) the Collateral Agent and the Purchasers or Majority Purchasers . . .
         have entered into an amendment to this Agreement which by its express terms cures
         such Event of Default, at which time such Event of Default shall no longer be
         deemed to exist or to have continued.
                                                    5
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  MTD, Ex. D ¶7.3 (emphasis added); see also MTD, Ex. E at 6.

         Judge Alsup based his findings on (1) evidence Fortress chose to execute a third amended

  Revenue Sharing Agreement with Uniloc on May 15, 2017, showing it was reasonably satisfied

  with Uniloc’s performance; and (2) the November 9, 2018 declaration of James Palmer, Managing

  Director in the Intellectual Property Finance Group at Fortress Investment Group, testifying

  Fortress was satisfied with Uniloc’s performance and “at no time, either before or after May 15,

  2017, did Fortress consider Uniloc as being in default, or believe Fortress had a right to license

  Uniloc’s patents. . .” Id.; see also Palmer Decl., ¶13 (attached). Mr. Palmer executed a second

  declaration on March 13, 2019, re-affirming that Fortress was satisfied with Uniloc’s monetization

  revenues, did not regard Uniloc as being in default, and considered any alleged “Event of Default”

  cured to Fortress’s satisfaction. See Second Palmer Decl. ¶¶ 1-3 (attached).

         Google’s argument that the May 15, 2017 amendment could not cure Uniloc’s defaults

  because certain alleged defaults occurred after May 15, 2017 misses the point. See MTD at 10-

  11. The May 15 amendment, together with the Palmer declarations, prove Uniloc cured any

  alleged default to Fortress’s “reasonable satisfaction.” As Judge Alsup observed:
         Under these circumstances, however, Fortress’s conduct and representations in the
         Palmer declaration can only be understood as excusing of the purported default(s)
         — amounting to a cure — by Fortress.

  See MTD, Ex. E at 7 (emphasis in original).

         D.     CF Uniloc and Uniloc 2017 amended the Security Agreement before this case
                was filed.
         Google’s allegation that the Security Agreement between Uniloc 2017 and CF Uniloc

  deprives Uniloc 2017 of standing fails because the allegedly offending provisions of the Security

  Agreement were amended before Uniloc 2017 filed this case. Turner Decl., Ex. D.

         The May 3, 2018 Security Agreement gave CF Uniloc a security interest in certain Uniloc

  2017 assets (“Collateral”), including certain patents. See MTD, Ex. K ¶4.1. Section 7.1 of the

  Security Agreement required Uniloc 2017 to obtain prior written consent of CF Uniloc before

  taking certain actions, including certain actions affecting Collateral. Id. ¶7. Google claims

  Section 7.1 deprives Uniloc 2017 of standing by allegedly “limiting Uniloc 2017’s ability to

                                                  6
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  control the enforcement and disposition of the asserted patents.” MTD at 12.

         On November 16, 2018, however, CF Uniloc and Uniloc 2017 amended the Security

  Agreement to address the allegedly offending provisions.




                                                         ***




  Turner Decl., Ex. D §4.9(e). To remove any doubt about the intent of



                                 Id. at §7.1. The Amended Security Agreement, therefore, removes

  the alleged limitations Google claims deprive Uniloc 2017 of standing.                   Judge Alsup

  acknowledged this in his order denying Apple’s motion to dismiss for lack of standing. See MTD,

  Ex. E at 9. (noting Uniloc 2017 “removed the allegedly offending provisions in Uniloc 2017’s

  agreement with CF Uniloc” in November 2018). The Amended Security Agreement does not

  deprive Uniloc 2017 of standing.
           E.      Uniloc Lux never transferred “all substantial rights” to Fortress, and Uniloc
                   2017 never transferred “all substantial rights” to CF Uniloc.
         The Termination Agreement and the Amended Security Agreement are, alone, fatal to

  Google’s motion. Even absent the Termination Agreement and the Security Agreement, however,

  Google’s motion fails because Uniloc Lux never transferred “all substantial rights” to Fortress,


  7
   Sections 4.7-4.8 and 8 allow CF Uniloc to take certain actions only after an Event of Default under the
  Amended Security Agreement and only after CF Uniloc “provides written notice to [Uniloc 2017]” of the
  default. CF Uniloc has not provided written notice to Uniloc 2017 of any Event of Default. Turner Decl.
  ¶6.

                                                     7
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  and Uniloc 2017 never transferred “all substantial rights” to CF Uniloc.
                   1. Basic standard for standing in patent cases
            Bringing a patent action requires that a plaintiff have both constitutional and prudential

  standing. Prima Tek II, L.L.C. v. A-Roo Co., 222 F.3d 1372, 1376-77 (Fed. Cir. 2000). Google

  argues only a lack of constitutional standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

  (1992).

            As to constitutional standing, those who might file an infringement action can be divided

  into three categories: CATEGORY ONE is a person or entity with constitutional standing to sue

  in its own name alone. It is usually referred to in judicial opinions as the “owner,” “effective
  owner,” or “assignee” of the patent, or as an “exclusive licensee” who has received “all substantial

  rights” from the owner. Its standing derives from the Patent Act, which provides a “patentee” is

  entitled to bring a civil action “for infringement of his patent.” 35 U.S.C. § 281. “Patentee”

  includes “not only the patentee to whom the patent was issued but also the successors in title to

  the patentee.” Id. § 100(d). Those provisions of the Patent Act have been interpreted to require

  an infringement suit “ordinarily be brought by a party holding legal title to the patent.” Propat
  Intern. Corp. v. Rpost, Inc., 473 F.3d 1187, 1189 (Fed. Cir. 2007). The exception would be where

  the party holding legal title transfers “all substantial rights” in the patent to another, in which case

  the transferee obtains CATEGORY ONE status. Id.

            CATEGORY TWO is a person or entity who has some exclusionary rights in the patent,

  but not enough to qualify as CATEGORY ONE. It is most often referred to in judicial opinions

  as an “exclusive licensee” who has not received “all substantial rights.” See, e.g., Prima Tek, 222

  F.3d at 1377. It has constitutional standing, but principles of prudential standing usually require it

  to join, as a coplaintiff, the CATEGORY ONE plaintiff. Id.; WiAV Solutions LLC v. Motorola

  Inc., 631 F.3d 1257, 1264-65 (Fed. Cir. 2010); Luminara Worldwide, LLC v. Liown Elecs. Co.,

  814 F.3d 1343, 1350 (Fed. Cir. 2016).

            CATEGORY THREE is a person who does not fall into either CATEGORY ONE or TWO,

  and thus has no constitutional standing. Prima Tek, 222 F.3d at 1377.
                   2. The background of the Mann case

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         Most patent cases in which the issue of standing is discussed have a familiar pattern. The

  person to whom the patent was issued or assigned (usually referred to as the “owner”) grants an

  “exclusive” license to another person. The court then examines the rights the license transferred,

  to determine whether those rights are sufficiently exclusive to give the recipient constitutional

  standing, and whether the patent rights the “owner” had retained require it to be named as a co-

  plaintiff (the latter being a question of prudential, not constitutional, standing). See, e.g., Mentor

  H/S, Inc. v. Med. Device Alliance, Inc., 240 F.3d 1016 (Fed. Cir. 2001); see also Speedplay, Inc.

  v. Bebop, Inc., 211 F.3d 1245 (Fed. Cir. 2000); Azure Networks, LLC v. CSR PLC, 771 F.3d 1336,

  1342 (Fed. Cir. 2014). But, there is generally always a CATEGORY ONE plaintiff or co-plaintiff,

  either already in the case or potentially to be named.

         In September 2007, the Federal Circuit issued Morrow, which had a somewhat different

  fact pattern. In that case, the entity that had been the patent owner (AHC) went bankrupt and went

  out of business. In the bankruptcy, the various creditor groups agreed to distribute differing

  portions of the rights in the patent to three separate entities. The court ruled the named plaintiff

  (GUCLT), the one of those three entities to which the creditors had given the right to sue, was a

  CATEGORY THREE plaintiff, and thus did not have constitutional standing. Following that

  decision, there was a concern in the patent bar that the principles discussed in the opinion, if later

  extended beyond the case’s holding in a bankruptcy context, might result in no one having

  constitutional standing to bring suit on a patent, depending upon how the various rights had been

  divided up. (Indeed, a district court seemed to have accepted that possibility. Fairchild

  Semiconductor Corp. v. Power Integrations, Inc., 630 F.Supp. 2d 365, 371 (D. Del. 2007)).

  Because that result would be unsatisfactory (and presumably unintended), the bar expected the

  Federal Circuit to clarify that issue, in some future case. Mann was that case. See Alfred E. Mann

  Found. For Sci. Research v. Cochlear Corp., 604 F.3d 1354, 1360 (Fed. Cir. 2010).
                 3. Mann explained there is always a CATEGORY ONE plaintiff.
         In Mann, the patents, when issued, were assigned to AMF. AMF later gave certain rights

  to a separate entity, AB, and retained others. AMF then sued Cochlear, which moved to dismiss

  for lack of constitutional standing, claiming AMF had not retained sufficient rights to be a

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  CATEGORY ONE plaintiff. The opinion described the relevant principles in terms of a transfer

  of rights from an owner/licensor who, before the transfer, had possessed all substantial rights in

  the patent (and thus had CATEGORY ONE status) to an “exclusive licensee.” Mann held:
            A patent owner may transfer all substantial rights in the patent-in-suit, in which
            case the transfer is tantamount to an assignment of those patents to the exclusive
            licensee, conferring standing to sue solely on the licensee. . . . [¶] This happens
            when the exclusive license transfers “all substantial rights” in the patents. When
            this happens, the exclusive licensee has sole standing to sue those suspected of
            infringing the patents’ claims. . . . This case presents a . . . scenario in which the
            patent owner seeks to bring suit, requiring us to determine whether the patent owner
            transferred away sufficient rights to divest it of any right to sue.

                                                     ***

            [A] patent may not have multiple separate owners for purposes of determining
            standing to sue. Either the licensor did not transfer “all substantial rights” to the
            exclusive licensee, in which case the licensor remains the owner of the patent and
            retains the right to sue for infringement, or the licensor did transfer “all substantial
            rights” to the exclusive licensee, in which case the licensee becomes the owner of
            the patent for standing purposes and gains the right to sue on its own. In either case,
            the question is whether the license agreement transferred sufficient rights to the
            exclusive licensee to make the licensee the owner of the patents in question. If so,
            the licensee may sue but the licensor may not. If not, the licensor may sue, but the
            licensee alone may not.
  604 F.3d at 1358-60 (citations omitted) (emphasis added). This portion of Mann resolved the

  lingering issue from Morrow, by ruling out a scenario where no one has standing to sue on a given

  patent.

            The opinion established a default rule: One who possesses sufficient rights to qualify as

  the sole CATEGORY ONE plaintiff maintains that status unless and until it transfers “all

  substantial rights” to another, after which that other qualifies as the CATEGORY ONE plaintiff.

  In a situation where a CATEGORY ONE plaintiff transfers some rights – but not “all substantial

  rights” – that entity retains CATEGORY ONE status (including the “right to sue for

  infringement”).




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                   4. Until assigning the patents-in-suit to Uniloc 2017, Uniloc Lux never
                      transferred “all substantial rights” to another.
            Here, Uniloc Lux obtained CATEGORY ONE status when it obtained legal title to the

  patents-in-suit – as established by the publicly available assignment records at the USPTO.

  Loveless Decl., Ex. A. Uniloc Lux did not transfer all substantial rights to Fortress. Even if

  Fortress had obtained a right to sublicense, by the express terms of the Patent License Agreement,

  that right was nonexclusive. Turner Decl., Ex. A. Such a limited, nonexclusive right is far short of

  a grant of “all substantial rights” in the patents. Thus, under Mann, Fortress’s purported right to

  sublicense in the event of a default could not have deprived Uniloc Lux of its CATEGORY ONE

  status.

            Reinforcing Mann are several Federal Circuit cases that found a person with CATEGORY

  ONE status maintains that status, despite having transferred a right to sublicense:

            In Aspex Eyewear, Inc. v. Miracle Optics, Inc., 434 F.3d 1336, 1342 (Fed. Cir. 2006), the

  action was filed by Contour, the original owner of the patent (and thus the original holder of

  CATEGORY ONE status). The court held Contour maintained its CATEGORY ONE status,

  despite having transferred to another person “the exclusive right to make, use, and sell” products

  covered by the patent and a “virtually unfettered right to sublicense all of its rights to a third-

  party,” and Contour “retained ‘no supervisory power or veto power’” over that person’s grant of

  sublicenses.

            In Assymetrix, the original owner (Harvard) was held to have CATEGORY ONE status,

  even though it had transferred to a licensee (Assymetrix) the right to grant sublicenses. 582 F.3d

  at 1316.

            In Prima Tek, the original owner (Southpac) was held to have maintained its CATEGORY

  ONE status, even though another person (Prima Tek II) had a right to grant additional licenses.

  222 F.3d at 1375.

            And in Mann itself, the original owner (AMF) retained its CATEGORY ONE status, even

  though it had transferred to an exclusive licensee (AB) a right to grant sublicenses. 604 F.3d at

  1362.

            Google bases its argument – a person cannot be a CATEGORY ONE plaintiff if another
                                                   11
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  person has a right to license – on dicta from WiAV, 631 F.3d at 1266. Mot. at 13. But that case did

  not present the issue here, which is determining what defines CATEGORY ONE status. There,

  WiAV had already added the CATEGORY ONE entity (referred to in that opinion as the “patent

  owner”) as an involuntary defendant, to obviate any prudential standing issue. Id. at 1265 n.1.

  Rather, WiAV claimed standing as a CATEGORY TWO plaintiff, as the holder of an exclusive

  license to the relevant patents. Because CATEGORY TWO status requires exclusivity, the issue

  was whether another’s right to license those patents deprived plaintiff of its exclusivity, and thus

  of its CATEGORY TWO status.

          Google cites similar dicta from Luminara, 814 F.3d at 1348. Mot. at 12-13. In that case, a

  nonparty, Disney, owned the patent and, before granting an exclusive license to Candella,

  Luminara’s predecessor, thus had CATEGORY ONE status. The question for the court was

  whether the exclusive license transferred “all substantial rights” from Disney to Candella, giving

  Candella, instead of Disney, CATEGORY ONE status. Defendant argued Disney’s retention of

  the right to license certain of its affiliates rendered the transfer insufficient to bestow CATEGORY

  ONE status on Candella. In that context, the court said that if Disney were free to license “any”

  entity, “all substantial rights” would not have been transferred. Id. But the court found Disney had

  not retained that right.

          Luminara actually supports Plaintiffs’ position by suggesting, albeit in dicta, that where

  two persons simultaneously have the right to license, CATEGORY ONE status is retained by

  whomever had it before that situation arose. Neither WiAV or Luminara conflicts with the default

  rule of Mann, under which a person who has CATEGORY ONE status would retain that status

  unless and until he transfers “all substantial rights” to another.
                  5. Uniloc 2017 never transferred “all substantial rights” to another.
          Uniloc 2017 obtained CATEGORY ONE status when it obtained legal title to the patents-

  in-suit from Uniloc Lux. Uniloc 2017 never lost CATEGORY ONE status because it never

  transferred “all substantial rights” to another. The rights granted CF Uniloc under the Security

  Agreement were those designed to protect CF Uniloc’s security interest: (1) consent to assignment

  or transfer of the patents; and (2) consent to settlement of any litigation regarding the patents.

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  Turner Decl., Ex. D. Even absent the changes under the Amended Security Agreement, these

  limited rights would not have been a transfer of “all substantial rights” to another.

          Google misconstrues both the facts and the law under Sicom Sys. Ltd. v. Agilent Techs.

  Inc., 427 F.3d 971 (Fed. Cir. 2005). See MTD at 12 (claiming the court found Sicom “did not

  have all substantial rights to patent-in-suit as it had to receive prior written consent to settle

  litigation and to sublicense or assign its rights”).

          First, Sicom was not the owner of the patent. Rather, Sicom was a licensee with a

  nonexclusive license from the patent owner (the Canadian government). Sicom Sys., Ltd., 427

  F.3d at 973. Thus, the legal question in Sicom was not (as it is here) whether the patent owner

  has standing. The court explained:
          A nonexclusive license confers no constitutional standing on the licensee to bring
          suit or even to join a suit with the patentee because a nonexclusive licensee suffers
          no legal injury from infringement.

                                                   ***
          While a licensee normally does not have standing to sue without the joinder of the
          patentee (to prevent multiplicity of litigation), an exclusive license may be treated
          like an assignment for purposes of creating standing if it conveys to the licensee
          all substantial rights. This court has defined “all substantial rights” as those rights
          sufficient for the licensee or assignee to be “deemed the effective patentee under
          35 U.S.C. § 281.”

  Sicom Sys., Ltd., 427 F.3d at 976 (cleaned up) (emphasis added).

          Second, the court did not find Sicom lacked standing merely because it was required to

  obtain consent from the patent owner to settle litigation or assign its rights, as Google’s

  parenthetical implies. Rather, the court found Sicom could not be considered an “effective

  patentee” because (a) it had only a nonexclusive license and (b) the patent owner reserved

  numerous rights:
          Canada has reserved for itself the right to continue operating under the patented
          technology, as well as a multitude of other rights, including: the right to veto
          Sicom’s reassignment of its rights or proposed sublicenses; the right to levy
          additional royalties or other consideration; the right to grant contracts and sub-
          contracts to further develop the invention claimed in the patent; and the right to
          offer sublicenses under any improvements or corrections developed by Sicom.
          Indeed, Canada also retained the right to sue for infringement other than
          commercial infringement and it retained legal title to the patent.
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                                                   ***

          In light of Canada’s right to permit infringement in certain cases, the requirement
          that Sicom consent to certain actions and be consulted in others, and the limits on
          Sicom’s right to assign its interests in the patent, we hold that the Agreement
          transfers fewer than all substantial rights in the patent from Canada to Sicom.
  Sicom Sys., Ltd., 427 F.3d 978-980. Sicom does not support Google’s claim that a patent owner

  with CATEGORY ONE standing loses “all substantial rights” merely because a security

  instrument requires it to obtain a creditor’s consent to settle litigation or assign the patent.

          The other cases Google cites (Azure8 and Juniper9) involve patent owners who, unlike

  Uniloc 2017, lost standing by transferring inter alia, exclusive licenses. Azure and Juniper only

  demonstrate the vast difference between the minimal rights given CF Uniloc under the Security

  Agreement and what is necessary to constitute a transfer of “all substantial rights.” The court in

  Azure found a transfer of all substantial rights because the patent owner gave Azure “the exclusive,

  worldwide, transferable right to (i) make, have made, use, sell, offer to sell, import, and lease any

  products, (ii) use and perform any method, process, and/or services, and (iii) otherwise practice

  any invention in any manner under the ’129 patent.” Azure, 771 F.3d at 1341. The court found it
  “vitally important” that the assignment gave an exclusive right to make, use and sell the products.

  Id. at 1343. It also found it critical that the assignee had the exclusive right to sue for infringement.

  Id. Similarly, in Juniper, the rights granted by the patent owner included an exclusive right to

  “initiate, maintain, manage, resolve, conclude and settle all arrangements and activities in

  connection with any and all licensing or litigation or enforcement efforts.” 2010 WL 2898298, at

  *4. No such rights were granted by Uniloc 2017. Rather, it is undisputed CF Uniloc was not given

  an exclusive license.




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    Azure Networks, LLC v. CSR PLC, 771 F.3d 1336 (Fed. Cir. 2014), cert. granted, judgment vacated, 135
  S. Ct. 1846, 181 L. Ed. 2d 720 (2015)
  9
    Enhanced Sec. Research, LLC v. Juniper Networks, Inc., CIV.A. 09-871-JJF, 2010 WL 2898298 (D.
  Del. July 20, 2010)
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  III.   VENUE IS PROPER IN THIS DISTRICT UNDER SECTION 1400(b).
         Google’s motion to dismiss for improper venue must be denied because, as this Court

  already determined under an identical set of facts involving Google’s GGC servers, venue is

  proper. Further, there have been acts of infringement in this District.
         Section 1400(b) of Title 28, United States Code states:

         Any civil action for patent infringement may be brought in the judicial district
         where the defendant resides, or where the defendant has committed acts of
         infringement and has a regular and established place of business.

  The Federal Circuit has interpreted the phrase “has a regular and established place of business” to

  mean: (1) the defendant has a physical place of business; (2) the place is regular and established;
  and (3) the place is a place of business “of the defendant.” See generally In re Cray Inc., 871 F.3d

  1355 (Fed. Cir. 2017).

         Most of Google’s motions dispute only whether Google has a regular and established place

  of business in this District. In Case Nos. 2:18-cv-00492, -00495, -00497, -00500, -00503,

  and -00504, Section IV. C of Google’s motions dispute whether there have been acts of

  infringement in this District. These case-specific allegations are addressed in Section III. B below.
         A.      Google has a regular and established place of business in this District.
         Google’s motion must be denied because this Court already found in SEVEN Networks that

  Google has a regular and established place of business in this District. Google does not allege the

  facts existing when this suit was filed were any different from the facts considered in SEVEN

  Networks. This Court should, therefore, reach the same conclusion based on the same facts.
                 1. This Court should take judicial notice of the evidence and findings in
                    SEVEN Networks.
         Uniloc requests that this Court take judicial notice of (a) this Court’s own factual findings

  in SEVEN Networks and (b) the evidence that supported those findings. If this Court believes it is

  necessary for Uniloc to attach the same evidence to satisfy the burden of proof, Uniloc requests

  leave to conduct limited venue discovery and supplement its response. Further, to the extent not

  challenged by Google, the allegations concerning Google’s GGC servers in Uniloc’s complaint

  should be taken as true.
                 2. Google’s allegation that the GGC servers were “drained” is immaterial.
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          Google’s allegation that the GGC servers located in this District “ceased serving traffic10

  on November 23, 2018, just six days after” this case was filed is immaterial because (as Google

  recognizes later in its own motion) “[c]ourts determine venue under § 1400(b) by the facts and

  situation as of the date the suit is filed.” Dkt. No. 17 at 32 (citing Godo Kaisha IP Bridge 1 v. Intel

  Corp., No 2:17-cv-00676-RWS-RSP, 2018 WL 5728524, at *2 (E.D. Tex. Aug. 29, 2018)).
                  3. Google’s GGC servers satisfy the Cray test.
          Section 1400(b) of Title 28, United States Code states:
          Any civil action for patent infringement may be brought in the judicial district where the
          defendant resides, or where the defendant has committed acts of infringement and has a
          regular and established place of business.
                          a. Google’s GGC servers and the place of the GGC servers are a
                             “physical place.”
          Google’s “GGC server itself and the place of the GGC server, both independently and

  together, meet the statutory requirement of a ‘physical place.’” SEVEN Networks, LLC v. Google

  LLC, 315 F. Supp. at 951–54. Google’s claim that it “does not own, lease, or control the space

  where the [GGC] servers are kept” (Dkt. No. 17 at 22) should be rejected here for the same reasons
  the same false allegation11 was rejected in SEVEN Networks:

          Here . . . there is more than merely a virtual space or electronic communications
          from one person to another. The “place” is specifically localized: a physical server
          occupying a physical space. Not only does Google exercise exclusive control
          exercised over the digital aspects of the GGC, Google exercises exclusive control
          over the physical server and the physical space within which the server is located
          and maintained.

          In this regard, the Court has considered the Beta Service Agreement: Google Global
          Cache (GGC) Service between Google and Suddenlink (“the Suddenlink
          Agreement”) (Dkt. No. 141-23). It reveals that Google exacts far more control than
          may be suspected from a general lease arrangement. Google requires ISPs such as
          Suddenlink to provide “[r]ack space, power, network interfaces, and IP addresses,
          as specified in the following table [omitted], in consultation with Google”;
          “[r]emote assistance and installation services described in SCHEDULE ‘A’ ”;
          “[n]etwork access between the Equipment and Host network subscribers”; and

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     Google’s declaration claims the GGC servers were “drained” on November 23 and therefore no longer
  cached any data. Dkt. No. 17-5 ¶13.
  11
     Seven Networks, LLC v. Google LLC, 315 F. Supp. at 950 (“Google disputes that it leases anything. (Dkt.
  No. 148 at 5 (‘Google does not own, lease, or otherwise exercise possession or control over the ISPs’
  buildings or rooms housing the GGC servers in this District’)). This is a principal objection and will be
  addressed infra.”).
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        “[r]emote high bandwidth access, sufficient for Google to download upgrade
        images of GGC to the Equipment, unless separate arrangements are agreed with
        Google.” (Dkt. No. 141-23 at 1).

        The Suddenlink Agreement makes it clear that the ISP does not own the server(s);
        Google owns the servers. (Dkt. No. 141-23 at 2 (In the event of termination of the
        Agreement: “Host will remove, package and ship (shipping charges will be pre-
        paid directly by Google to the carrier, and Host will undertake such removal and
        packaging to be undertaken in a commercially reasonable manner) all Equipment
        back to Google within fifteen (15) calendar days of effective date of termination. If
        Host fails to do so, Google will have the right to: (a) charge Host and Host will pay
        the fair market value of the Equipment; or (b) recover and take possession of such
        Equipment, and for this purpose may enter any premises of Host where such
        equipment is located during normal working hours to remove Equipment. Host will
        promptly surrender the Equipment to Google in as good order and condition as
        originally delivered, reasonable wear and tear excepted.”) (emphasis added) ).
        Google is not even required to replace faulty servers under the Suddenlink
        Agreement. (Dkt. No. 141-23 at 7 (“Google Services: Google will provide the
        following services in beta: ... 3. replace faulty Equipment (at Google’s cost and sole
        discretion)”)).

        This Agreement is not a mere lease of digital space or computing power; it is the
        installation of Google’s own servers in a physical space that becomes Google’s.
        Following installation of the GGC server, the ISP is required to provide Google
        explicit details regarding Google’s server’s installation location. (Id. at 3 (“Contact
        & Location Details: As soon as practicable after the Effective Date, the parties will
        advise each other in writing (which may be sent electronically) of the following: ...
        (c) Equipment location (address/floor/rack)”) ). Once installed, it is considered a
        permanent fixture. There is no dispute that the Suddenlink Agreement requires that,
        in order for an ISP to move a previously installed GGC from one location to a new
        location, it must secure Google’s permission, which Google may not permit “at its
        sole discretion.” (Dkt. No. 141-23 at 2 (“Change Notification: Host will provide
        Google no less than thirty (30) days’ written notice of any proposed relocation of
        the Equipment or change of IP address. Host may propose relocation at any time.
        Google, at its sole discretion, may elect not to accept the proposed relocation but
        will reasonably consider any such relocation and discuss all reasonable options with
        Host.”) (emphasis added)).

        Google’s ownership of the server and its contents is absolute, as is Google’s control
        over the server’s location once it is installed. (Dkt. No. 141-24 at 2 (“Restriction on
        Use of Equipment: All ownership rights, *953 title, and intellectual property rights
        in and to the Equipment shall remain in Google and/or its licensors. THE
        EQUIPMENT OR ANY PORTION THEREOF MAY NOT BE USED, COPIED,
        TRANSFERRED, REVERSE-ENGINEERED, OR MODIFIED EXCEPT AS
        EXPRESSLY PERMITTED BY THIS AGREEMENT. Host must not, without the
        prior written consent of Google (which may be withheld in its sole discretion),
        access, use, or dispose of the Equipment, in whole or in part.”) (emphasis added)).



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           This is not a partnership, wherein an ISP may independently act on Google’s behalf
           in administering the GGC. To the contrary, the Suddenlink Agreement expressly
           disclaims any such relationship. (Dkt. No. 141-24 at 2 (“No Partnership, No
           Exclusivity: The parties are independent contractors, and this Agreement does not
           create an agency, partnership or joint venture. This Agreement is not intended to,
           nor does it create, any agency, partnership, joint venture or other profit-sharing
           arrangement, nor does it create an exclusive relationship between the parties. This
           Agreement places no restrictions of any type on either party’s ability to freely
           compete or to enter into agreements with other entities or individuals.”)).

           Indeed, Google’s total control over the GGC server’s physical presence within the
           ISP may be best illustrated by the Suddenlink Agreement’s requirement that tasks
           such as the “physical switching of a toggle switch;” “power cycling equipment
           (turning power on and/or off);” and “tightening screws, cable ties, or securing
           cabling to mechanical connections, plug;” may be performed “only with specific
           and direct step-by-step instructions from Google.” (Dkt. No. 141-23 at 6) (emphasis
           added).

           This level of control in the physical world exemplifies how the physical
           presence of the GGC server within this District constitutes more than
           “merely” “a virtual space or [ ] electronic communications from one person to
           another.” In re Cray, 871 F.3d at 1362. Indeed, such control in the physical
           realm over a specific physical space establishes that, irrespective of the
           determinations related to the other § 1400(b) requirements, there is a physical
           place which this Court may examine to determine if it is a regular and
           established place of business and whether it is a place of the defendant.
           Accordingly, the Court finds that, in this case, the GGC server itself and the
           place of the GGC server, both independently and together, meet the statutory
           requirement of a “physical place.”
  Seven Networks, LLC v. Google LLC, 315 F. Supp. 3d at 951–54, 965 (emphasis added) (cleaned

  up). For the same reasons, this Court should again find Google’s GGC server itself and the place

  of the GGC server, both independently and together, meet the statutory requirement of a physical

  place.
                  b. Google’s GGC servers and the place of those servers are regular and
                     established places of business.
           Further, for the reasons already explained by this Court, the “GGC servers and their several

  locations within this District constitute ‘regular and established place[s] of business’ within the

  meaning of the special patent venue statute.” SEVEN Networks, LLC v. Google LLC, 315 F. Supp.

  3d at 964.

           Google’s arguments against this finding are the same arguments rejected in SEVEN

  Networks. Google again argues: (1) its “GGC servers are not computers made by Google” and are
                                                    18
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  instead “off-the-shelf computers made by third-party manufactures; (2) Google “does not own,

  lease, or control the space where the servers are kept”; (3) “[n]o Google employee has ever seen

  or visited the servers in this District”; and (4) its service agreements may be terminated at any

  time). See Dkt. No. 17 at 21-22.

          These arguments were addressed, and rejected, by this Court in SEVEN Networks. See

  SEVEN Networks, LLC, 315 F. Supp. at 954–64. For example, contrary to Google’s insistence

  “that business must be carried out by employees or agents of the defendant physically present at

  the place of business” (Dkt. No. 17 at 20), this Court found § 1400(b) “does not countenance the

  addition of a further human-centric requirement at the place of business.” SEVEN Networks, LLC

  v. Google LLC, 315 F. Supp. at 964 (noting that an “extra-statutory requirement of human-centric

  activity” would render the exemption for Automated Teller Machines superfluous).

         And in response to Google’s argument that the servers are not regular and established

  because the agreements between Google and the ISPs allow either party to terminate at any time

  for any reason, this Court stated:
         The Court disagrees [with Google]. A business which has a five-year agreement is
         certainly no less established with a month remaining on the lease than it is in the
         first year of the lease. A month-to-month agreement which has endured for years is
         clearly “regular and established.” There is little question that Google intends the
         GGC servers to be a “[s]calable long term solution for edge content distribution,”
         and it is undisputed that they have been such a solution in this District for
         years. (Dkt. No. 141-18 (Mike Axelrod, The Value of Content Distribution
         Networks and Google Global Cache) at 10; Dkt. No. 141 at 19). The fact that the
         Suddenlink Agreement may be terminated is not evidence that Google's presence
         in this District is somehow less than “regular and established.” Few sophisticated
         transactional documents fail to have one or more escape clauses, but nothing about
         such provisions makes the commercial targets addressed less than established.
  SEVEN Networks, 315 F. Supp. at 957.

         Google also relies on the same authority this Court rejected in SEVEN Networks.12 As this

  Court previously recognized, HomeBingo “stands for the proposition that Google’s GGC server


  12
    See Dkt. No. 17 at 17, 19, 24 (citing Magee v. Coca-Cola Refreshments USA, Inc., 833 F.3d 530, 534
  (5th Cir. 2016); Peerless Network, Inc. v. Blitz Telecom Consulting, LLC, No. 17-CV-1725 (JPO), 2018
  WL 1478047, at *4 (S.D.N.Y. Mar. 26, 2018); Personal Audio, LLC v. Google, Inc., 280 F.Supp.3d 922,
  934 (E.D. Tex. 2017); CDx Diagnostic, Inc. v. United States Endoscopy Grp., Inc., No. 13-CV-5669(NSR),
  2018 WL 2388534, at *3 (S.D.N.Y. May 24, 2018); HomeBingo Network, Inc. v. Chayevsky, 428 F.Supp.2d
  1232, 1250 (S.D. Ala. 2006)).
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  may not establish that Sundar Pichai (Google LLC’s CEO) has a regular and established place of

  business within this District.” SEVEN Networks, LLC v. Google LLC, 315 F. Supp. at 954–64.

  HomeBingo “does nothing to demonstrate that the GGC server should not be considered a regular

  and established place of business as to Google.” Id. Further, Magee is not a beneficial comparison

  because it involved whether a vending machine was a “sales establishment” under the ADA, not

  whether it was a regular and established place of business under the venue statute). Id. Moreover,

  this Court rejected Peerless Network, Inc.’s finding that “some employee or agent of the defendant

  [must] be conducting business at the location in question” because this requirement “finds no basis

  within the language of the statute, nor does it accord with conceptions of places of business

  stretching back to at least the turn of the 20th century.” SEVEN Networks, LLC v. Google LLC,

  315 F. Supp. at 962.

         Citing Regents of Univ. of Minn. v. Gilead Scis., Inc., CDx Diagnostic, Inc., Google insists

  the GGC servers should be treated like lockers. This Court already acknowledged CDx Diagnostic,

  Inc. and squarely rejected the notion that Google’s GGC servers are mere storage lockers:
         The vast majority of business organizations require and utilize some form of storage
         or logistics. Of course, businesses may store items at other business’s locations
         (like, for example, Fulfillment by Amazon) wherein goods are stored by third
         parties at the third parties’ discretion and with no control over the location,
         management, or daily supervision of the products in storage. Such an arrangement
         can scarcely be considered to render the physical location of the stored items a place
         of business as to the party whose goods are stored. However, were that same party
         to integrate the storage arrangement into its own logistical operations (similar to,
         for example, Amazon and its relationship with its own fulfillment centers), there
         can be little doubt that the storage warehouses are places of business, even if the
         public never interacts with the warehouse.

         Here, the GGC servers are best characterized as local data warehouses, storing
         information in local districts to provide Google’s users with quick access to the
         cached data, avoiding the delays associated with distant data retrieval from Google
         Data Centers. (Dkt. No. 141 at 4). This type of logistical positioning is
         commonplace for larger corporate interests, especially where prompt delivery is a
         core aspect of a business strategy. This is the case with Google. Holding that
         Google’s business done at and through the GGC servers faithfully comports with
         the language of the statute; it is the logical result this Court has reached

  SEVEN Networks, LLC v. Google LLC, 315 F. Supp. at 960–61.



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                c. The GGC servers and their locations are regular and established places of
                   business “of the defendant.”
         For the same reasons sated in SEVEN Networks, here Google’s GGC servers are “of the

  defendant,” namely:
         There is little doubt that both the server and the physical location in and at which it
         resides is under the exclusive control of Google. The rack space allotted for the
         GGC server is “provided” to Google. (Dkt. No. 141-23 at 6 (“Space: The Host shall
         provide Google rack space for the Equipment located at the Space within Host
         premises.”)). The precise location of that space, and thus the server, is reported to
         Google by the ISP. (Dkt. No. 141-23 at 3 (“Contact & Location Details: As soon
         as practicable after the Effective Date, the parties will advise each other in writing
         (which may be sent electronically) of the following: ... (c) Equipment location
         (address/floor/rack)”)). Further, as noted supra at 952–53, “Google’s ownership
         of the server and its contents is absolute, as is its control over the server’s
         location, once installed.” (See Dkt. No. 141-23 at 6). Google’s ownership of the
         server and control thereof has not been a focus of Google’s objections to proper
         venue in this District. Supra at 953 n. 30.

         Google itself has denoted that the GGC servers are places “of Google.” As the
         Federal Circuit instructed in In re Cray, “a defendant’s representations that it has a
         place of business in the district are relevant.” 871 F.3d at 1363. In this respect,
         “[p]otentially relevant inquiries include whether the defendant lists the alleged
         place of business on a website,” in determining whether “the defendant [has]
         establish[ed] or ratif[ied] the place of business,” within the meaning of the statute.
         Id. Here, Google has done so. Google states on http://peering.google.com that “Our
         Edge Network is how we connect with ISPs to get traffic to and from users” and
         that this content traffic “can come from multiple Google locations, including our
         data centers Edge PoPs, and Edge Nodes.” (Dkt. No. 197-1 at 1).

  Seven Networks, LLC v. Google LLC, 315 F. Supp. 3d at 965–66.




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         4. This Court should not abandon its fact-intensive approach to venue in favor of a
            bright-line rule based on the outcomes of CUPP and BMC.
         Google urges this Court abandon its well-reasoned and fact-intensive decision in SEVEN

  Networks and instead adopt a bright-line rule (that servers are not a place of business) based on

  the outcomes in CUPP Cybersecurity, LLC v. Symantec Corp., C.A. No. 3:18-CV-01554, 2019

  WL 1070869, at *2-3 (N.D. Tex. Jan. 16, 2019) and BMC Software, Inc. v. Cherwell Software,

  LLC, No. 1:17-cv-1074, Dkt. 55 at 3 (E.D. Va. Dec. 21, 2017).

           The approach Google urges is inconsistent with Cray, which states: “In deciding whether

  a defendant has a regular and established place of business in a district, no precise rule has been

  laid down and each case depends on its own facts.” In re Cray Inc., 871 F.3d 1355 (Fed. Cir.

  2017) (emphasis added).      In SEVEN Networks, this Court noted that it was able to reach its

  conclusions “largely due to the venue discovery Ordered by the Court.” SEVEN Networks, LLC,

  315 F. Supp. 3d at 954, n. 31. In contrast, venue discovery was denied in both BMC and CUPP,

  leading to decisions uninformed by the detailed facts that guided SEVEN Networks.

         SEVEN Networks perfectly illustrates why it would be error to adopt the bright-line rule

  Google urges. This Court cannot adopt Google’s proposed bright-line rule (that servers and the

  place of those servers are never a regular and established place of business) without ignoring what

  it knows about Google’s control over the GGC servers and the places of those severs.

         Even assuming CUPP and BMC reached the right outcomes, those outcomes do not govern

  the outcome here. SEVEN Networks was decided on a different set of facts. As this Court properly

  recognized, it is those underlying facts, applied to the statutory language, that matter.
         5. There is no requirement of a link between alleged acts of infringement and a
            defendant’s regular and established place of business.
         Google’s argument that there must be a “nexus” between its acts of infringement and its

  regular and established place of business should be rejected for the same reason it was rejected in

  SEVEN Networks:

         Google argues . . . that the language of § 1400(b) . . . only sets proper venue in a
         judicial district “where the defendant has committed acts of infringement at their
         regular and established place of business.” The clear substitution of statutory
         language which Google’s proposition requires demonstrates that it is incorrect.


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                                                      ***
          Nothing in the language of Section 1400(b) justifies the conclusion that a
          defendant’s place of business in the district must have some connection with the
          accused device. The statute requires only that the defendant have committed acts
          of infringement in the district and have a regular and established place of business
          there; there is no requirement that the two factors be related.

  SEVEN Networks, 315 F. Supp. 3d at 945 (emphasis in original).

          Google insists its re-writing of the statute is consistent with the statutory history of the

  venue statute because it is intended to ensure jurisdiction “would not be conferred by isolated

  instances of infringement but only where a permanent agency is established.” Google fails to

  recognize that requiring a “regular and established place of business” already accomplishes this

  purpose. As this Court recognized, “it is not ‘unfair’ to require a defendant to answer suit in a

  district wherein a defendant has a regular and established place of business and is alleged to have

  committed acts of infringement.” Id. (emphasis in original).

          6. Google’s other places of business in this District

          Google insists cell towers in this district used for Google’s services are not regular and
  established places of business of Google, alleging: (1) Google Fi relies on cellular towers of other

  companies to transmit data and does not own any cell towers in this District; (2) Google does not

  have any exclusive rights to use the cell towers; and (3) Google has no say as to where the towers

  are located or how they are operated. These are similar to allegations Google made about its GGC

  servers that were later proved false by venue discovery.13

          Google makes similar allegations concerning Google Cloud Interconnect (“GCI”) and

  Direct Peering, claiming: (1) there is no Google equipment at Megaport’s facilities; (2) Google

  does not own any portion of Megaport or own or lease any of Megaport’s facilities; and (3) Google


  13
    For example, as to Google Fi, public articles indicate Google’s service is not merely that of a reseller (as
  Google suggests). Rather, “in Google Fi’s case, a trio of carriers are used — Sprint, T-Mobile and regional
  carrier US Cellular. For Fi-certified devices, Google says its cellular services determines which carrier has
  the fastest network where you happen to be and connects you to that one.” See
  https://www.tomsguide.com/us/project-fi-faq,review-4530.html. When a Wi-Fi signal is stronger, Wi-fi is
  used instead of the cell tower (either via a home hot spot or through Google’s network of Wi-fi hotpots).
  Id. Also, for this service, “Google has implemented an option called Enhanced Network Beta that
  routes all internet connections through the company's secure VPN.” Id.
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  does not provide any equipment to Megaport or maintain or locate any of its equipment at

  Megaport “to facilitate Megaport’s connectivity capabilities.” As Google did in SEVEN Networks

  concerning GGC servers, Google carefully chooses its words concerning the Megaport facility.

  Despite Uniloc’s allegation that Google holds contractual or property rights to use the space and

  maintain equipment, Google does not disclose any of the contracts it has with Megaport or

  CyrusOne. It’s bald statements concerning its relationship with Megaport and the equipment there

  should not be accepted without venue discovery that includes production of Google’s agreement(s)

  with Megaport.

          Google makes similar arguments concerning repair centers and other Google services in

  this District.

          Google’s factual assertions concerning Google Fi, cell towers used by Google in this

  District, GCI, Megaport, and Google’s other services in this District should not be resolved without

  venue discovery. This Court was able to reach its conclusions in SEVEN Networks “largely due

  to the venue discovery,” where this Court noted that it “anticipates it will commonly be asked to

  permit, on motion, a similar, targeted discovery process to ensure it is able to have a complete

  picture of the underlying venue facts before attempting to apply the statutory requirements of §

  1400(b).” SEVEN Networks, LLC, 315 F. Supp. 3d at 954, n. 31.

          Because Google’s GGC servers and the place of those servers are enough, alone, to show

  Google has a regular and established place of business, it should be unnecessary to use party and

  court resources to conduct discovery on Google’s other places of business in this District. Should

  this Court have any doubt, however, concerning its decision in SEVEN Networks, then Uniloc

  requests leave to move for limited discovery concerning Google’s other places of business.

      B. The complaints in Case Nos. 2:18-cv-00492, -00495, -00497, -00500, -00503,
         and -00504 sufficiently allege Google has committed acts of infringement in
         this District.




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          In Case Nos. 2:18-cv-00492, -00495, -00497, -00500, -00503, and -00504, Google argues

  in Section IV C of its motions to dismiss that Uniloc’s respective complaints fail to allege acts of

  infringement in this District.14

              1. Google had knowledge of induced infringement at the time the -00492,
                 -00495, -00497, -00500, -00503, and -00504 complaints were filed.
          In each of the cases listed above, Google argues Uniloc fails to allege Google induced or

  contributed to infringement because Uniloc does not allege Google pre-suit knowledge of the

  asserted patents. In each case, this argument fails because pre-suit knowledge is not necessary for

  induced or contributory infringement. See Tierra Intelectual Borinquen, Inc. v. ASUS Computer

  Int’l, Inc., 2:13-CV-44-JRG, 2014 WL 1233040, at *2 (E.D. Tex. Mar. 24, 2014).

          Google had knowledge at the time the complaints were filed. Achates Reference Pub., Inc.

  v. Symantec Corp., 2:11-CV-294-JRG-RSP, 2013 WL 693955, at *3 (E.D. Tex. Jan. 10, 2013),

  report and recommendation adopted, 2:11-CV-294-JRG-RSP, 2013 WL 693885 (E.D. Tex. Feb.

  26, 2013) (“Symantec has had knowledge of the patent, as well as knowledge that the use of the

  activation component infringes the asserted patents, since at least the time of the filing of the

  Complaint.”). This is sufficient to establish Google committed acts of infringement for purposes

  of venue.

              2. Google had pre-suit knowledge.
          Further, while pre-suit knowledge is not required, Google cannot plausibly deny that it had

  pre-suit knowledge. The complaints in Case Nos. 2:18-cv-00492, -00495, -00497, -00500, -00503,

  and -00504 were each filed on November 17, 2018. But nearly identical complaints were filed

  weeks before (and later voluntarily dismissed).             Google had pre-suit knowledge of the

  infringement alleged in -00492 because a nearly identical complaint was filed approximately six

  weeks earlier on October 1, 2018 in Case No. 2:18-cv-00421.15           Google had pre-suit knowledge

  of the infringement alleged in -00495, -00497 and -00500 because nearly identical complaints were


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     See (492 case) Dkt. No. 17 at 27-29; (495 case) Dkt. 20 at 28-29; (497 case) Dkt. 18 at 27-28; (500
  case) Dkt. 18 at 27-29; (503 case) Dkt. 20 at 28-29; (504 case) Dkt. 20 at 28-29.
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     Uniloc 2017 voluntarily dismissed the -00421 complaint before filing the -00492 complaint.

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  filed on October 31, 2018 in Case Nos. 2:18-cv-00448, -00450, and -00454.16 And Google had

  pre-suit knowledge of the infringement alleged in -00503 and -00504 because nearly identical

  complaints were filed on November 1, 2018 in Case Nos. 2:18-cv-00457 and -00458.

              3. Google erroneously assumes all alleged infringing activity must have
                 occurred in this District.
          In each of its motions challenging acts of infringement, Google attempts to sidestep

  undisputed allegations in the complaint by alleging one part of the infringing activity does not

  occur in this district. Google appears to be again making an argument rejected by this Court in

  SEVEN Networks – that Uniloc 2017 must allege Google alone performs each step of the alleged

  infringement in this District. This exact argument has been rejected by the courts, including this

  one: “Contrary to Plaintiff’s argument, not all of the alleged infringing activity needs to have

  occurred within [the District] so long as some act of infringement took place there.” Seven

  Networks, 315 F. Supp. 3d at 943.

              4. The -00492 complaint plausibly alleges acts of infringement in this
                 District.
          As alleged in the -00492 complaint, Google’s video encoding (e.g., as used in “YouTube”)

  corresponds to the Accused Infringing Devices. See ¶¶ 83-94. In addition to Google using these

  services itself, it allows its clients (including users in the EDTX) to use such services. Id. For

  example, Paragraph 83 discusses a YouTube user (including EDTX residents) uploading a video

  that will be re-encoded and delivered back to other YouTube users (which can also be EDTX

  residents). Id. As to its own use, Google is believed to use this particular service to provide local

  channels to EDTX residents, for example, the YouTube TV services referenced in                 ¶13. The

  encoded videos are specifically believed to be delivered through the GGC servers located in the

  EDTX – the so-called “workhorses of video delivery.” Id.

          Google attempts to side-step these undisputed facts by alleging that one component, an

  encoding server, is not located in the EDTX. Although Google does not disclose where such an

  encoding server is located, this doesn’t matter because, for example, the “video” referenced in

  16
    Uniloc voluntarily dismissed the -00448, -00450, and -00454 complaints before filing the -00495, -
  00497 and -00500 complaints.
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  Independent Claim 21 is obtained from EDTX residents and businesses. And the claimed “video

  stream” is sent to “device[s]” in EDTX. This video may be uploaded by an EDTX user and then

  sent back to an EDTX user’s “device” (see claim language “a transmitter for sending the video

  stream to a device”). Likewise, the local news channels in the EDTX deliver video to Google for

  recoding and delivery back to EDTX residents as a “video stream.” Or, a user can upload a video

  from an EDTX server for transcoding and re-downloading back to the same EDTX server.

            Google’s allegation that one should simply ignore where the information is obtained (here,

  EDTX residents) and to where it goes (here, EDTX) is analogous to arguments rejected in other

  contexts under 35 USC 271 (f) and (g) where one might seek to escape infringement by crossing

  international boundaries. Here, the video content is obtained from the EDTX and the video stream

  is delivered to devices in the EDTX.

            Google likewise does not dispute that it instructs EDTX users on how they can use these

  services (see. e.g., ¶ 93) or how they can benefit from using these service (see. e.g., ¶ 84, 85).

                5. The -00495 complaint plausibly alleges acts of infringement in this
                   District.
            As alleged in the -00495 complaint, Google’s “Spectrum Access System” or SAS

  corresponds to the Accused Infringing Devices. See ¶¶ 83-95. SAS specifically coordinates

  wireless spectrum amongst different users to avoid interference. Google does not dispute that the

  spectrum includes the use of wireless spectrum in the EDTX.

            Like multiple other motions, Google attempts to side-step such an undisputed fact by

  alleging that one component, a database used for SAS, is not located in the EDTX. This is

  irrelevant. The “stations” referenced in Independent Claim 1 broadcast through the EDTX.

  Google’s SAS coordinates the elimination of interference amongst such differences in the EDTX.

            While generally alleging a lack of commercial availability, Google’s website states the

  opposite.17 Google’s carefully worded declaration doesn’t allege a lack of stations that coordinate

  with Google’s SAS.




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       See https://www.google.com/get/spectrumdatabase/sas/
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         Google likewise does not dispute that it instructs EDTX users on how they can use these

  services (see. e.g., ¶ 93) or how they can benefit from using these service (see. e.g., ¶ 84, 85). In

  contrast, Google now provides a certification class.18

             6. The -00497 complaint plausibly alleges acts of infringement in this
                District.
         As alleged in the -00497 complaint, Google’s “YouTube” and “Media & Entertainment

  Solutions” (e.g., in Google Cloud) correspond to the Accused Infringing Devices. See ¶¶ 83-96. In

  addition to Google using these services itself, it allows its clients (e.g., users in the EDTX) to use

  such services. For example, Paragraph 84 discusses a YouTube user (including EDTX residents)

  uploading a video that will be re-encoded and delivered back to other YouTube users (which can

  also be EDTX residents).        For other users, Paragraph 85 discusses Google’s “Media &

  Entertainment Solutions” that would enable EDTX to live-stream data for redistribution back to

  other EDTX user. As to its own use, Google is believed to use this particular service to provide

  local channels to EDTX residents, for example, the YouTube TV services referenced in ¶13. The

  encoded videos are specifically believed to be delivery through the GGC servers located in the

  EDTX – the so-called “workhorses of video delivery.” Id.

         Like multiple other motions, Google attempts to side-step these undisputed facts by

  alleging that one component, an encoding server, is not located in the EDTX. This is irrelevant

  because, for example, the “coded data” referenced in Independent Claim 1 is obtained from EDTX

  residents and businesses. For example, the video an EDTX YouTube user uploads may correspond

  to the “coded data.” Likewise, the local news channels in the EDTX delivery “live streams” of

  “coded data” for recoding and delivery back to EDTX residents. Or, a user can upload a video

  from an EDTX server for transcoding and re-downloading back to the same EDTX server.

         Google’s allegation that one should simply ignore where the information is obtained (here,

  EDTX residents) and to where it goes (here, EDTX) is analogous to arguments rejected in other

  contexts under 35 USC 271 (f) and (g) where one might seek to escape infringement by crossing

  international boundaries are passed.

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    See https://www.google.com/get/spectrumdatabase/cpi/; https://www.coursera.org/learn/google-cbrs-
  professional-training
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         Google likewise does not dispute that it instructs EDTX users on how they can use these

  services (see. e.g., ¶ 93) or how they can benefit from using these service (see. e.g., ¶ 84, 85).

             7. The -00500 complaint plausibly alleges acts of infringement in this
                District.
         As alleged in the -00500 complaint, Google’s video encoding (e.g., as used in its Media

  and entertainment solutions, YouTube, and Anvato platform) corresponds to the Accused

  Infringing Devices. See ¶¶ 83-95. As noted in the complaint, in addition to Google using these

  services itself, it allows its clients (e.g., users in the EDTX) use such services. For example,

  Paragraph 84 discusses a user (including EDTX residents) uploading a video that will be re-

  encoded and delivered back to other EDTX residents. A Google customer that use this service is

  NBC affiliate KETK, which serves the Tyler and Longview markets to deliver video content, for

  example, on its website – www.easttexasmatters.com.

         As to its own use, Google is also believed to use this particular service to provide local

  channels to EDTX residents, for example, the YouTube TV services referenced in ¶13. The

  encoded videos are specifically believed to be delivered through the GGC servers located in the

  EDTX – the so-called “workhorses of video delivery.” Id.

         Like multiple other motions, Google attempts to side-step these undisputed facts by

  alleging that one component, an encoding server, is not located in the EDTX. This is irrelevant

  because, for example, the “video data stream” referenced in Independent Claim 1 is obtained from

  EDTX residents and businesses. And, the ultimate video is sent to EDTX residents. For example,

  this video may be uploaded by an EDTX user and then sent back to another EDTX user.

         Google’s allegation that one should simply ignore where the information is obtained (here,

  EDTX residents) and to where it goes (here, EDTX) is analogous to arguments rejected in other

  context under 35 USC 271 (f) and (g) where one might seek to escape infringement by crossing

  international boundaries. Here, the video content is obtained from the EDTX and the video stream

  is delivered to devices in the EDTX.

         Google likewise does not dispute that it instructs EDTX users on how they can use these

  services (see. e.g., ¶ 84) or how they can benefit from using these service (see. e.g., ¶ 84, 85).

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             8. The -00503 complaint plausibly alleges acts of infringement in this
                District.
         As alleged in the -00503 complaint, Google’s “load balancer” or “health check” service

  corresponds to the Accused Infringing Devices. See ¶¶ 83-104. In addition to Google using these

  services itself, it allows its clients (e.g., users in the EDTX) to set up and use such services. ¶¶84,

  86 (noting Google’s literature statements “[Y]ou must choose and configure the platform

  components that you want to use . . . it’s your responsibility to configure, administer, and monitor

  the systems. Google will ensure that resources are available, reliable, and ready to use, buts it’s

  up to you to provision and manage them. The advantage, here, is that you have complete control

  of the systems and unlimited flexibility.”). Google’s motion should be denied for the simple reason

  that Google never alleges a lack of users of its service in the EDTX. And, for good reason. As

  alleged in the complaint, EDTX residents undisputedly use this service; and, Google actively

  induces such EDTX residents to use this service. Google does not dispute this.

         Like multiple other motions, Google attempts to side-step these undisputed facts by

  alleging that one component, a server, is not located in the EDTX. This is irrelevant because, for

  example, Independent Claim 1 recites “routing the traffic from the routing device to a second

  server in response to detecting the invalid status message from the first server.” Id. (emphasis

  added). The so-called first server does not need to be a Google server and can instead be a client

  server (e.g., in the EDTX) that the client has requested that Google “health check” feature monitor

  for performance. As a non-limiting example, a Google customer can have servers located at the

  EDTX Megaport facility described in Complaint at ¶40. Using the Google Cloud Interconnect

  features, which Google makes available at this EDTX facility, a customer can enable such a health

  check feature.

         Google also fails to allege that its GGC servers that were acknowledged to be in the EDTX

  do not use this “health check” feature.

         Google likewise does not dispute that it instructs EDTX users on how they can use these

  services (see. e.g., ¶ 91, 94, 100, 102, 105) and the benefits of using the service. (see. e.g., ¶ 88).

             9. The -00504 complaint plausibly alleges acts of infringement in this
                District.

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         As noted in the complaint, Google’s “two-step verification” service corresponds to the

  Accused Instrumentality. See Complaint, 503-case, ¶¶ 83-104. Google’s motion should be denied

  for the simple reason that Google never alleges a lack of users of its service in this District. And

  for good reason. As alleged in the complaint, residents here undisputedly use this service, and

  Google actively induces residents to use this service. Google does not dispute this.

         Google attempts to side-step these undisputed facts by alleging that one component, a

  server that interacts with EDTX residents, is not located here. Although Google does not inform

  the Court where these servers are located, it doesn’t matter because the claims recite an interaction

  of the server with user devices, which are indisputably in this district.

         For example, as described in the complaint, in infringing Google’s servers obtain a

  “location” and “identity” of the device attempting to access a Google service and then

  communicates that information to a known device associated with the account – awaiting feedback

  for approval for the attempted access to be approved. Paragraph 91 of the complaint gave a product

  testing examples of the two example interactions of the device attempting to access sees and the

  known device.

         Below is a specific example where the accessing device is in the EDTX:




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          Google likewise does not dispute that it instructs EDTX users on how they can turn this

  two- step verification service on and off (see. e.g., ¶ 88) and how they can benefit by using the

  service (see. e.g., ¶ 88).

  IV.      GOOGLE CANNOT PLAUSIBLY DENY PRESUIT KNOWLEDGE OF
          INFRINGEMENT.

          Google cannot plausibly deny pre-suit knowledge of the infringement described in the

  complaints. Weeks before each complaint was filed, nearly identical complaints were filed and

  later voluntarily dismissed.



                                          CONCLUSION

  For the foregoing reasons, Google’s motions to dismiss should be denied.



  Dated: May 20, 2019                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I certify that the foregoing document was served upon all counsel of record via the Court's

  CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on May

  20, 2019.
                                                              /s/ Ryan S. Loveless
                                                              Ryan S. Loveless




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                         CERTIFICATE OF FILING UNDER SEAL

        I certify that motions to file under seal were filed in the case as follow on May 20, 2019:
                                   Case Number            Motion to Seal (Dkt. No)
                                  2:2018cv00491                      26
                                  2:2018cv00492                      23
                                  2:2018cv00493                      26
                                  2:2018cv00494                      29
                                  2:2018cv00495                      24
                                  2:2018cv00496                      32
                                  2:2018cv00497                      24
                                  2:2018cv00498                      27
                                  2:2018cv00499                      27
                                  2:2018cv00500                      27
                                  2:2018cv00501                      22
                                  2:2018cv00502                      25
                                  2:2018cv00503                      29
                                  2:2018cv00504                      28


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